AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                               District
                                                       __________       of Kansas
                                                                  District  of __________

                      DeRon McCoy, Jr.                                       )
                              Plaintiff                                      )
                                 v.                                          )   Civil Action No. 21-3269-TC-JPO
           Aramark Correctional Services, et al.                             )
                            Defendant                                        )

                                              WAIVER OF THE SERVICE OF SUMMONS

To: DeRon McCoy, Jr.
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

        I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from                11/16/2022            , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.

Date:          12/15/2022                                                                                /s/ Dylan L. Murray
                                                                                            Signature of the attorney or unrepresented party

              Aramark Correctional Services                                         Dylan L. Murray, KS #25417 (Attorney for Aramark)
        Printed name of party waiving service of summons                                                      Printed name
                                                                                               Baker Sterchi Cowden & Rice LLC
                                                                                                2400 Pershing Road, Suite 500
                                                                                                 Kansas City, Missouri 64108
                                                                                                                 Address

                                                                                                   dmurray@bakersterchi.com
                                                                                                             E-mail address

                                                                                                           (816) 471-2121
                                                                                                           Telephone number

                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.


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